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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                            No. 4:18-CR-054-O

MARCEL FERDINAND MALLORY (01)


                           GOVERNMENT'S WITNESS LIST


Name/Address                           Sworn/Testified
                                       Subject Matter of Testimony

1.      Lacey Goodson                  _______/_______
        U.S. Probation Officer         Will testify as to all relevant facts regarding the
                                       defendant’s violations of conditions of
                                       supervision alleged in the Petition for Offender
                                       Under Supervision filed October 7, 2022.

2.      Brian Finney                   _______/_______
        DEA Special Agent              Will testify as to all relevant facts regarding the
                                       U.S District Court Criminal Complaint No.
                                       4:22-MJ-705 filed September 26, 2022.




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                                        Respectfully submitted,

                                        CHAD E. MEACHAM
                                        UNITED STATES OF ATTORNEY

                                        /s/ Shawn Smith
                                        SHAWN SMITH
                                        Assistant United States Attorney
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                                        Fort Worth, Texas 76102
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                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the above pleading was this day served
upon Samuel Ray Terry, counsel of record for the defendant and U.S. Probation Office,
Fort Worth, Texas in accordance with the provisions of Rule 49 of the Federal Rules of
Criminal Procedure.

        DATED this 20th day of October 2022.


                                        /s/ Shawn Smith
                                        SHAWN SMITH
                                        Assistant United States Attorney




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